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                                                                              19-cr-40091-DDC-01
The Honorable Daniel D. Crabtree,

District Court Judge, District of Kansas




You Honor,



I am the aunt of William Jarrett Smith on his father's side. I have been a part of
Jarrett's life since his birth. Usually, as a family all of us would gather for the
holidays and that was when I was able to spend the most amount of time with
him. Jarrett was always a respectable, kind young man. I knew that he had had a
difficult time with being bullied in high school, but I never heard him speak of
revenge or violence toward any of these individuals. Jarrett was extremely happy
and proud when he joined the Army. He loved his uniform and would proudly
wear it whenever he got to come home. I believe Jarrett's goal was to belong and
to be respected. The choices that Jarrett has made as a young man does not
reflect the Jarrett I know. His life will never be the same. I do not believe neither
you nor any judge will ever see him in a courtroom again. Any consideration you
may give him in your decision will be valuable for the remainder of his life.




'J-"-r-^". Zwr,^6+.J
                                   s   L
Claire Zawistowski
